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 6

 7                      UNITED STATES DISTRICT COURT
 8                     CENTRAL DISTRICT OF CALIFORNIA
 9
                                           Case No. 8:22-cv-00339
10
      PAULO AGUIRRE,                       COMPLAINT FOR DAMAGES
11

12                   Plaintiff,            1. VIOLATIONS OF THE FAIR DEBT
                                           COLLECTION PRACTICES ACT, 15
13          v.                             U.S.C. § 1692 et seq.
14
      HARRIS & HARRIS, LTD.,               2.    VIOLATIONS       OF     THE
15
                     Defendant.            ROSENTHAL        FAIR        DEBT
16                                         COLLECTION PRACTICES ACT,
                                           CAL. CIV. CODE §1788 et seq.
17

18                                         JURY TRIAL DEMANDED
19
           NOW COMES Plaintiff, PAULO AGUIRRE, by and through his undersigned
20
     counsel, complaining of Defendant, HARRIS & HARRIS, LTD., as follows:
21

22                                NATURE OF THE ACTION
23
           1.    This action seeks redress for Defendant’s violations of the Fair Debt
24
     Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692 et. seq. and the Rosenthal
25

26   Fair Debt Collection Practices Act (“RFDCPA”), Cal. Civ. Code § 1788 et. seq.
27

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 1                            JURISDICTION AND VENUE
 2
           3.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331.
 3

 4         4.     Venue in this district is proper under 28 U.S.C. § 1391(b)(2).

 5                                         PARTIES
 6         5.     PAULO AGUIRRE (“Plaintiff”) is a natural person, over 18-years-of-
 7
     age, who at all times relevant resided at 3443 West Del Monte Drive, Unit 119,
 8

 9   Anaheim, California 92804.
10         6.     Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).
11
           7.     Plaintiff is a “consumer” as defined by Cal. Civ. Code § 1788.2(h).
12

13         8.     HARRIS & HARRIS LTD. (“Defendant”) is a limited liability company
14   that maintains a principal place of business at 111 West Jackson Boulevard, Suite
15
     400, Chicago, Illinois 60604-4135.
16

17         9.     Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6)
18   because the principal purpose of Defendant’s business is the collection of debt owed
19
     to others.
20

21         10.    Defendant uses instrumentalities of interstate commerce and the mail in
22
     its business – the principal purpose of which is the collection of debt owed or due or
23
     asserted to be owed or due another.
24

25                              FACTUAL ALLEGATIONS

26         11.    At some point in time, Plaintiff received medical services from St.
27
     Joseph Hospital of Orange County (“St. Joseph”) in or around November 2020.
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                                                2
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 1         12.    Plaintiff then received a bill from St. Joseph for $4,394.45 (“subject
 2
     debt”).
 3

 4         13.    The subject debt is a “debt” as defined by 15 U.S.C. § 1692a(5).

 5         14.    Plaintiff could not understand how such a simple visit to the hospital
 6
     could have cost this much.
 7

 8         15.    Plaintiff called St. Joseph on numerous occasions and requested an
 9   itemized statement.
10
           16.    Unfortunately, St. Joseph never sent Plaintiff the information that he had
11

12   requested.
13         17.    In or around mid March 2021, Defendant started placing collection calls
14
     to Plaintiff on the subject debt.
15

16         18.    Plaintiff advised Defendant that he did not know who Defendant was
17   and that he would be unwilling to make a payment until Plaintiff received an itemized
18
     statement regarding the details of the subject debt.
19

20         19.    Defendant’s representative stated that Defendant could and would not
21
     send a validation of the subject debt and that Plaintiff would need to contact the
22
     hospital.
23

24         20.    Frustrated with not receiving the information he had requested, Plaintiff
25
     asked Defendant to stop calling until either Plaintiff could obtain the validation from
26
     the hospital or until Defendant provided it.
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 1          21.      Defendant’s calls stopped for a short while; however, Defendant yet
 2
     again started placing unwanted and unconsented to collection calls to Plaintiff
 3

 4   regarding the subject debt without having provided verification of the subject debt.

 5          22.      Since Plaintiff requested that the phone calls cease, Defendant has
 6
     placed numerous collection calls to Plaintiff.
 7

 8          23.      Plaintiff felt helpless to stop Defendants collection call campaign, and
 9   its disregard for providing Plaintiff with the basic validation documents that he
10
     requested.
11

12          24.      Concerned with having had his rights violated, Plaintiff was forced to
13   retain counsel; therefore, expending time and incurring attorney’s fees to vindicate
14
     his rights.
15

16                                   CLAIMS FOR RELIEF
17                                         COUNT I:
18                 Fair Debt Collection Practices Act (15 U.S.C. § 1692 et seq.)
19          25.      All Paragraphs of this Complaint are expressly adopted and
20
     incorporated herein as though fully set forth herein.
21

22                a. Violation(s) of 15 U.S.C. § 1692c
23
            26.      Section 1692c(a) of the FDCPA provides:
24
                     Without the prior consent of the consumer given directly to the
25
                     debt collector or the express permission of a court of competent
26                   jurisdiction, a debt collector may not communicate with a
                     consumer in connection with the collection of any debt-
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                                                  4
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 1                (1)    at any unusual time or place or a time or place known or
 2                       which should be known to be inconvenient to the
                         consumer. . .
 3                       15 U.S.C. § 1692c(a)(1).
 4
           27.    Defendant violated 15 U.S.C. § 1692c(a)(1) by placing phone calls to
 5

 6   Plaintiff’s cell phone after Plaintiff requested that the phone calls cease.

 7         28.    Specifically, after Plaintiff requested that the phone calls cease, any time
 8
     that Defendant called Plaintiff was an inconvenient time.
 9

10                b. Violations of FDCPA §1692d
11         29.    Pursuant to § 1692d of the FDCPA, a debt collector is prohibited from
12
     engaging “in any conduct the natural consequence of which is to harass, oppress, or
13

14   abuse any person in connection with the collection of a debt.”
15         30.     Section 1692d(5) further prohibits “causing a telephone to ring or
16
     engaging any person in telephone conversation repeatedly or continuously with intent
17

18   to annoy, abuse, or harass any person at the called number.”
19         31.    Defendant violated §§ 1692d and d(5) when it placed numerous
20
     collection calls after Plaintiff requested the calls cease in an attempt to collect the
21

22   subject debt after Plaintiff requested that the phone calls cease.
23
           32.    Defendant’s behavior of systematically calling Plaintiff’s cellular phone
24
     number in an attempt to collect the subject debt was harassing and abusive.
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 1         33.    The fact that Defendant knowingly placed calls to Plaintiff after Plaintiff
 2
     made requests that the calls cease is illustrative of Defendant’s intent to harass and
 3

 4   annoy Plaintiff.

 5                c. Violations of FDCPA §§1692e and 1692f
 6
           34.    Pursuant to §1692f of the FDCPA, a debt collector is prohibited from
 7

 8   using “unfair or unconscionable means to collect or attempt to collect any debt.”
 9         35.    Defendant violated §1692f by employing unfair and unconscionable
10
     means to attempt to collect on a debt by not providing the basic required validation
11

12   notice after being requested to do so by Plaintiff.
13         36.    Pursuant to §1692e of the FDCPA, a debtor collector is prohibited from
14
     making “any false, deceptive, or misleading representation” in connection with the
15

16   collection of a debt.
17         37.    Defendant violated §1692e by falsely representing that Defendant was
18
     unable to provide any validation or itemization of the alleged subject debt.
19

20
           WHEREFORE, Plaintiff, PAULO AGUIRRE, requests the following relief:
21

22         A.     Declaring that the practices complained of herein are unlawful and
                  violate the FDCPA;
23
           B.     an award of any actual damages sustained by Plaintiff as a result of
24                Defendant’s violation(s);
           C.     an award of such additional damages, as the Court may allow, but not
25
                  exceeding $1,000.00;
26         D.     an award of attorney’s fees and costs; and
           E.     an award of such other relief as this Court deems just and proper.
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 1                                          COUNT II
 2                            Violations of §1788.17 of the RFDCPA
 3
           38.      Plaintiff restates and incorporates all paragraphs as if fully set forth
 4   herein.
 5
           39.      California Civil Code § 1788.17 provides:
 6
           Notwithstanding any other provision of this title, every debt collector
 7         collecting or attempting to collect a consumer debt shall comply with
 8         the provisions of Section 1692b to 1692j [of the FDCPA], inclusive, of,
           and shall be subject to the remedies in Section 1692k of, Title 15 of the
 9         United States Code.
10
           40.      As stated above, Defendant violated various sections of 15 U.S.C. §
11

12   1692, therefore violating Cal. Civ. Code § 1788.17.
13         WHEREFORE, Plaintiff, PAULO AGUIRRE, respectfully requests that this
14
     Honorable Court enter judgment in his favor as follows:
15

16               a. Declaring that the practices complained of herein are unlawful and
17                  violate the RFDCPA;
18
                 b. Awarding Plaintiff statutory and actual damages, in an amount to be
19

20                  determined at trial, for the underlying RFDCPA violations;
21               c. Awarding the Plaintiff costs and reasonable attorney fees; and
22
                 d. Awarding any other relief as the Honorable Court deems just and
23

24                  proper.
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 1                            DEMAND FOR JURY TRIAL
 2
           Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury.
 3

 4   DATED: March 2, 2022                                Respectfully submitted,

 5                                                       PAULO AGUIRRE
 6
                                                         By: /s/ Nicholas M. Wajda
 7                                                       Nicholas M. Wajda (Cal. Bar
                                                         No. 259178)
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